      Case 3:18-cv-01562-GPC-BGS Document 1 Filed 07/11/18 PageID.1 Page 1 of 5



     Richard J. Meier, Esq.
1
     MEIER LLC
2    501 W. Broadway, Suite 800
     San Diego, CA 92101
3    Tel: 619-810-7490
     Fax: 619-374-7337
4
     Attorney for Plaintiff
5
                                     UNITED STATES DISTRICT COURT
6                                  SOUTHERN DISTRICT OF CALIFORNIA

                                                        Case No.: '18CV1562 GPC BGS
7
     RICHARD J. MEIER,
8
             Plaintiff,                                 Judge:
9

10
     v.                                                   CLASS ACTION COMPLAINT FOR
                                                         DAMAGES UNDER THE TELEPHONE
11   ALLIED INTERSTATE, LLC                                CONSUMER PROTECTION ACT
     c/o CT Corporation System
12
     818 W 7th Street, Suite 930
13   Los Angeles, CA 90017                               JURY DEMAND ENDORSED HEREIN

14           Defendant.
15
             Plaintiff complains and alleges, based on personal knowledge, and on information and belief as
16
     to all other matters, and demands trial by jury:
17
                                              NATURE OF ACTION
18

19        1. Plaintiff brings this action for damages and other legal and equitable remedies resulting from the

20           illegal actions of Defendant Allied Interstate, LLC (“Defendant in negligently, knowingly, and/or
21
             willfully contacting Plaintiff on his cellular telephone without his prior express consent within
22
             the meaning of the Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”). Plaintiff
23

24
             seeks statutory damages for the TCPA violations committed by Defendants.

25        2. Defendant is a Minnesota registered company that conducts business throughout the country.
26                                        JURISDICTION AND VENUE
27
          3. This Court has jurisdiction over this class action lawsuit under 28 U.S.C. § 1331 and 47 U.S.C. §
28




                                                   COMPLAINT - 1
     Case 3:18-cv-01562-GPC-BGS Document 1 Filed 07/11/18 PageID.2 Page 2 of 5



          227.
1

2      4. Venue is proper in the United States District Court for the Southern District of California

3         pursuant to 28 U.S.C. §§ 1391(b)-(c) and 1441(a) because Defendant is a corporation that is
4
          deemed to reside in any judicial district in which they are subject to personal jurisdiction at the
5
          time the action is commenced. Defendant’s contacts with this District, including directing text
6

7
          messages into this District, are sufficient to subject them to personal jurisdiction in this District.

8                                                   PARTIES
9      5. Plaintiff is an individual and was, at all times mentioned herein, a U.S. citizen residing in San
10
          Diego, California.
11
       6. Plaintiff is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153(10).
12

13     7. Defendant is, and at all times mentioned herein was, a corporation incorporated under the laws of

14        the State of Minnesota. Defendant is, and at all times mentioned herein was, a corporation and
15
          “person” as defined by 47 U.S.C. § 153(10).
16
                             THE TELEPHONE CONSUMER PROTECTION
17                              ACT OF 1991 ((TCPA), 47 U.S.C. § 227)
18
       8. The TCPA regulates, inter alia, the use of automated telephone equipment or “autodialers.”
19
          Specifically, the TCPA prohibits the use of autodialers to make any call, including text messages
20
          or SMS messages, to a wireless number in the absence of an emergency or the prior express
21

22        consent of the party called. 47 U.S.C. § 227(b)(1)(A)(iii).

23     9. According to findings by the Federal Communication Commission (“FCC”), which is vested
24
          with authority to issue regulations implementing the TCPA, such autodialed calls are prohibited
25
          because automated or prerecorded telephone calls are a greater nuisance and invasion of privacy
26

27
          than live solicitation calls, and receiving and addressing such calls can be costly and

28        inconvenient.




                                                 COMPLAINT - 2
     Case 3:18-cv-01562-GPC-BGS Document 1 Filed 07/11/18 PageID.3 Page 3 of 5



       10. On July 10, 2015, the FCC ruled that “the TCPA requires consent not of the intended recipient of
1

2         a call, but of the current subscriber.” See FCC 15-72.

3                       FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
4
       11. In 2018, Defendant placed, or caused to be placed, telephone calls to Plaintiff’s cellular phone.
5
       12. Upon information and belief, those telephone calls were made using an “automated telephone
6

7
          dialing system” as defined by 47 U.S.C. § 227(b)(1)(A).

8      13. At no time did Plaintiff ever provide his cellular phone number to Defendant.
9      14. At no time did Plaintiff ever consent to receiving automated telephone calls from Defendant.
10
       15. The telephone number that Defendants and/or affiliates, subsidiaries, or agents of Defendants
11
          used to contact Plaintiff was assigned to a cellular telephone service as specified in 47 U.S.C. §
12

13        227(b)(1)(A)(iii).

14     16. The complained of telephone calls were not made for emergency purposes as defined by 47
15
          U.S.C. § 227(b)(1)(A)(i).
16
       17. Plaintiff did not provide “express consent” or any other form of consent allowing Defendants
17
          and/or affiliates, subsidiaries, or agents of Defendants to place telephone calls to Plaintiff’s
18

19        cellular phone by means of an “automatic telephone dialing system,” within the meaning of 47

20        U.S.C. § 227(b)(1)(A).
21
       18. Under the TCPA, the burden is on Defendants to demonstrate that Plaintiff provided express
22
          written consent within the meaning of the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at
23
          565 (¶ 10).
24

25                                         CLAIMS FOR RELIEF
26                                 FIRST CLAIM FOR RELIEF
27
                           NEGLIGENT VIOLATIONS OF THE TELEPHONE
                                 CONSUMER PROTECTION ACT
28                                      (47 U.S.C. § 227)




                                                 COMPLAINT - 3
     Case 3:18-cv-01562-GPC-BGS Document 1 Filed 07/11/18 PageID.4 Page 4 of 5




1
        19. Plaintiff incorporates by reference the foregoing paragraphs as if fully stated herein.
2
        20. The foregoing acts and omissions constitute negligent violations of the TCPA, including but not
3
            limited to each of the above cited provisions of 47 U.S.C. § 227.
4

5       21. As a result of the alleged negligent violations of 47 U.S.C. § 227, Plaintiff is entitled to an award

6           of $500.00 in statutory damages for each and every call, including SMS messages, placed or
7
            transmitted in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
8
        22. Plaintiff is also entitled to, and do seek, injunctive relief prohibiting such conduct violating the
9

10
            TCPA in the future.

11                                SECOND CLAIM FOR RELIEF
                          KNOWING AND/OR WILLFUL VIOLATIONS OF THE
12
                            TELEPHONE CONSUMER PROTECTION ACT
13                                     (47 U.S.C. § 227)

14      23. Plaintiff incorporates by reference the foregoing paragraphs as if fully stated herein.
15
        24. The foregoing acts and omissions constitute knowing and/or willful violations of the TCPA,
16
            including but not limited to each of the above cited provisions of 47 U.S.C. § 227.
17
        25. As a result of alleged knowing and/or willful violations of 47 U.S.C. § 227, Plaintiff is entitled to
18

19          treble damages of up to $1,500.00 for each and every call, including SMS messages, placed or

20          transmitted in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).
21
        26. Plaintiff is also entitled to, and do seek, injunctive relief prohibiting such conduct violating the
22
            TCPA in the future.
23

24
                                             PRAYER FOR RELIEF

25   WHEREFORE, Plaintiff prays for relief and judgment in his favor, as follows:

26      27. As a result of the alleged negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks $500.00 in
27
            statutory damages for each and every call/message that violated the TCPA;
28




                                                   COMPLAINT - 4
     Case 3:18-cv-01562-GPC-BGS Document 1 Filed 07/11/18 PageID.5 Page 5 of 5



        28. As a result of the alleged willful and/or knowing violations of 47 U.S.C. § 227(b)(1), Plaintiff
1

2           seeks, as provided by the statute, of up to $1,500.00 for each and every call/message that violated

3           the TCPA;
4
        29. Injunctive relief prohibiting such violations of the TCPA in the future; and
5
        30. Such other relief as the Court deems just and proper.
6

7
                                          DEMAND FOR JURY TRIAL

8           Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil Procedure 38(b) on all
9    claims so triable.
10
                                   DOCUMENT PRESERVATION DEMAND
11
            Plaintiff hereby demand that Defendant takes affirmative steps to preserve all recordings, data,
12

13   documents, and all other tangible things that relate to Plaintiff, the events described herein, any third

14   party associated with any telephone call, campaign, account, sale or file associated with Plaintiff, and
15
     any account or number or symbol relating to them. These materials are likely very relevant to the
16
     litigation of this claim. If Defendant is aware of any third party that has possession, custody, or control
17
     of any such materials, Plaintiff demands that Defendant request that such third party also take steps to
18

19   preserve the materials. This demand shall not narrow the scope of any independent document

20   preservation duties of Defendant.
21

22
                                                    RESPECTFULLY SUBMITTED,
23
                                                    Meier LLC
24

25                                                  By: /s/ Richard J. Meier
                                                    Richard J. Meier, Esq.
26                                                  501 W. Broadway, Suite 800
27
                                                    San Diego, CA 92101
                                                    Tel: 619-810-7490
28                                                  richard@meierllc.com




                                                    COMPLAINT - 5
